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 November 10, 2021                                                                                                D: +1 310 246 6850
                                                                                                                  dpetrocelli@omm.com
 VIA ECF

 The Honorable Brian M. Cogan
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

 Re:       United States v. Thomas J. Barrack
           Criminal Docket No. 1:21-CR-371-2 (BMC)

 Dear Judge Cogan:

 With the consent of both Pretrial Services and the U.S. Attorney’s Office, defendant Thomas J.
 Barrack, Jr., respectfully moves the Court to modify his bond conditions as set forth in detail
 below, which will clarify certain existing conditions and further permit Mr. Barrack to fulfill his
 business obligations. Under the current and continuing bond conditions, Mr. Barrack has been
 released on a $250 million dollar personal appearance bond, secured by $5 million in cash, over
 21 million shares in Digital Bridge and the signatures and property of his adult child, ex-wife and
 close personal friend. See Docket Entry No. 15. The proposed bond will continue to
 “reasonably assure the appearance of the person as required and the safety of any other
 person and the community[.]” 18 U.S.C. § 3142(g).

 Mr. Barrack proposes that the bond be modified to allow the following:

                •    Travel shall be restricted to the Central District of California and the District of
                     Colorado.
                •    With prior approval from Pretrial Services, the defendant shall be permitted to
                     travel to New York, including through Newark Airport, for the purpose of
                     attending Court proceedings, meeting with his lawyers and otherwise preparing
                     for trial in the matter, as well as for business purposes.
                •    With prior approval from Pretrial Services, the defendant shall be permitted to
                     travel domestically for business purposes.

 These modifications will clarify that Mr. Barrack is permitted to travel to and reside at his
 residences in California and Colorado, as well as clarify that when Mr. Barrack travels to New
 York, he may travel through Newark Airport. Additionally, these conditions will permit Mr.
 Barrack to resume his real estate business. Mr. Barrack has spent over forty years involved in
 real estate transactions across the world. As part of his business, he and other investors seek
 to acquire undermanaged, well-located assets and then set up businesses to develop and



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 manage the underlying properties and ultimately maximize their value by instituting best-in-class
 management. In other transactions, Mr. Barrack invests in the properties to improve them
 before selling the assets and returning capital to his limited partners. Mr. Barrack’s ability to
 travel to sites to inspect them and weigh in on their development, including on decisions about
 construction and architecture, is crucial to a project’s viability. In addition, numerous other
 stakeholders, including architects, leaseholders, and others, need to be able to collaborate with
 Mr. Barrack and his other partners at the relevant site during planning and construction, and
 continuing to the lease or sale of the project.

 To date, Mr. Barrack has not demonstrated any non-compliance with his required appearances
 before the Court nor does he present any danger to any individual or the community. We have
 conferred with counsel for the government and Pretrial Services who all agree to the proposed
 bond modifications. We respectfully request that the Court agree to modify the bond as
 reflected in Attachment A to this letter.

 Respectfully submitted,


 /s/ Daniel M. Petrocelli

 Daniel M. Petrocelli
 James A. Bowman
 Nicole M. Argentieri
 Partners
 of O’MELVENY & MYERS LLP




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